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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                                )
In re:                                                          ) Chapter 15
                                                                )
ESSAR STEEL ALGOMA INC., et al.,1                               ) Case No. 14-[___] ([___])
                                                                )
                 Debtors in a foreign proceeding                ) (Joint Administration Requested)
                                                                )

              DECLARATION OF JOHN CIARDULLO IN SUPPORT OF
         VERIFIED PETITION FOR RECOGNITION AND CHAPTER 15 RELIEF

         I, John Ciardullo, state as follows:

         1.      I submit this declaration (this “Declaration”) in support of the above-captioned

debtors and debtors-in-possession (collectively, the “Debtors”), who contemporaneously filed

motions seeking recognition of the Canadian Proceeding (as defined below) as a “foreign main

proceeding” and additional relief, respecting and in aid of the Canadian Proceeding. All facts set

forth in this Declaration are based on: (a) my knowledge; (b) my review of relevant documents;

or (c) my opinion based upon my experience and knowledge of the Debtors’ operations. If I

were called upon to testify, I could and would testify competently to the facts set forth herein.

         2.      I am a partner in the firm of Stikeman Elliott LLP, 5300 Commerce Court West,

199 Bay Street, Toronto, Ontario M5L 1B9 where I Chair the Capital Markets/Public Mergers &

Acquisitions Group in the firm’s Toronto office and co-Chair the firm’s global Public M&A

group. I am Canadian counsel to the Debtors, whose Canadian proceeding is pending before the

Canadian Court.


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    The Debtors in the foreign proceeding, along with the last four digits of the United States Tax Identification
    Number, Canadian Business Number or Netherlands Chamber of Commerce Number, as applicable, of each of
    the Debtors, are: Algoma Holdings B.V. (1679); Cannelton Iron Ore Company (9965); Essar Steel Algoma Inc.
    (0642); Essar Steel Algoma Inc. USA (8788); Essar Steel Canada (8779). The location of the Debtors’
    corporate headquarters and the service address for all of the Debtors is: 105 West Street, Sault Ste. Marie,
    Ontario P6A 7B4, Canada.
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       3.      I attended the University of Waterloo from 1989-1991 and Queen’s University

from 1992 to 1995 when I graduated with a Bachelor of Laws degree and was admitted to the

Ontario Bar in 1997.

       4.      I have a broad-ranging domestic and cross-border corporate practice at Stikeman

Elliott LLP which is currently focused on Public M&A transactions, but also encompasses a

broad spectrum of other corporate transactions including debt and equity financings and

corporate restructurings. Over the course of my career, I have been involved in numerous CBCA

arrangement proceedings.

       5.      My expertise in Canadian corporate law is recognized by a number of different

publications including: The Best Lawyers in Canada, The Canadian Legal Lexpert Directory,

Lexpert’s Guide to the Leading U.S./Canada Cross-border Corporate Lawyers in Canada,

PLC’s Which Lawyer? and Chambers Global's Guide to the World's Leading Lawyers for

Business.

       6.      This Declaration is comprised of matters that are statements of legal opinion

and/or statements of fact. Where the matters stated in this Declaration are statements of legal

opinion, such statements represent my view of Canadian law as a lawyer admitted and licensed

to practice in Ontario, Canada.

       7.      Where the matters stated in this Declaration are statements of fact that are within

my personal knowledge, they are true. Where the matters stated in this Declaration are

statements of fact that are not within my personal knowledge, they are derived from documents

and/or information supplied to me by or on behalf of the Debtors and are true to the best of my

knowledge, information, and belief.




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I.        Canadian Proceeding

          8.        On July 16, 2014, the Debtors, in a foreign proceeding (the “Canadian

Proceeding”), filed an application (the “Application”) with the Ontario Superior Court of Justice,

Commercial List (the “Canadian Court”) pursuant to Section 192 of the Canada Business

Corporations Act, R.S.C. 1985, c. C-44, as amended (the “CBCA”). On July 16, 2014, the

Canadian Court issued an interim order (the “Preliminary CBCA Order”) granting certain relief,

including, inter alia, (a) authorization to apply to the Canadian Court for an order approving the

terms of a special meeting of the holders of the 9⅞% senior unsecured notes (the “Unsecured

Notes”) issued by Algoma to consider a plan of arrangement under section 192 of the CBCA

(together, with certain other corporate steps, the “Arrangement”); (b) the prohibition on any

person terminating, accelerating, amended or declaring in default or taking any enforcement

steps under any contract or other agreement to which one or more of the Debtors is a party, due

to: the commencement of the Application; being a party to the Application or the Arrangement;

taking any step in furtherance of the Arrangement, any default (or cross-default) for failure to

make any payment of interest on the Unsecured Notes; and any default (or cross-default) for any

issuance of financial statements containing a going-concern statement.

II.       Overview of the CBCA Restructuring Process

          9.        The CBCA is Canada’s statute governing federally incorporated businesses, not

including banks, insurance, and trust and loan companies. Section 192 of the CBCA provides a

mechanism whereby a company can effect fundamental changes referred to as an “arrangement”2


2
      Section 192(1) of the CBCA defines "arrangement" in a non-exhaustive fashion to include: (a) an amendment to
      the articles of a corporation; (b) an amalgamation of two or more corporations; (c) an amalgamation of a body
      corporate with a corporation that results in an amalgamated corporation subject to the CBCA; (d) a division of
      the business carried on by a corporation; (e) a transfer of all or substantially all of the property of a corporation
      to another body corporate in exchange for the property, money, or securities of the other body corporate; (f) an
      exchange of securities of a corporation for property, money, or other securities of the corporation or property,
      money, or securities of another body corporate; (g) a going-private transaction or a squeeze-out transaction in


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through which corporate reorganization and acquisition transactions may be implemented.

Unlike other transaction structures, an arrangement is a Court-supervised process whereby an

applicant corporation applies to the relevant superior court of a Province for an interim order

setting the ground rules for the arrangement transaction. An arrangement requires the approval

of the corporation's board of directors and any affected stakeholders (depending on the

circumstances, the shareholders, or other security-holders of the corporation), and must be

judicially determined to be “fair and reasonable” to be approved by a Court. Canadian courts

have interpreted the definition of an “arrangement” broadly to encompass novel, complex, and

unique transactions, including the compromise of debt and securities.

       10.      A CBCA arrangement can affect the interests of non-CBCA entities.

Accordingly, the arrangement will also affect the interests of the U.S. Debtors. Canadian

courts have arranged non-CBCA entities along with CBCA entities in the context of mergers.

For example, in Arrangement relatif a Molson, [2004] Q.J. No. 13366, Lalonde J. of the Quebec

Superior Court sanctioned an arrangement between Molson (a CBCA corporation) and Coors (a

Delaware Corporation) that had the effect of a cross-border merger. Canadian courts have

arranged non-CBCA entities along with CBCA entities in the context of a debt compromise. For

example, the CBCA arrangement of Ainsworth Lumber Co. Ltd. involved an amalgamation of

entities that were incorporated under the CBCA and the equivalent statute in British Columbia,

as well as a partnership formed in British Columbia. Finally, in Re: Acadian Timber Income

Fund, [2009] O.J. No. 5517 (S.C.J.), Justice Pepall of the Ontario Superior Court of Justice,

recently confirmed that section 192 could be used to effect an arrangement in which the

applicants included a limited partnership, an income trust, and three CBCA corporations.


   relation to the corporation; (h) a liquidation and dissolution of a corporation; and (i) any combination of the
   foregoing.


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       11.     Normally, upon application to the Court for an order approving the arrangement,

an initial appearance is made before the Court for an interim order which specifies such items as

the manner in which a special meeting of the security holders will be called (e.g. proxy materials

to be distributed, notice periods, time and place of meeting, etc.), the persons entitled to vote at

the meeting, whether any classes of persons will be entitled to a separate class vote and the

approval thresholds required to approve the arrangement. Once the meeting is held and the

arrangement resolution passed by the required majority, the applicant corporation requests a final

order approving the arrangement. If the Court is satisfied as to the “fairness” of the arrangement,

it will grant a final order approving the arrangement. The arrangement is then effected by filing

articles of arrangement under the CBCA.

       12.     Canadian courts generally use a three-pronged test when hearing an application

for the final approval of a plan of arrangement:

               (i) whether the statutory procedures have been met;

               (ii) whether the application has been put forward in good faith; and

               (iii) whether the plan of arrangement is fair and reasonable.

       13.     Parties impaired by the proposed plan of arrangement have standing to challenge

such plan, and all parties can appear before the CBCA Judge and argue that they are impaired by

the arrangement — thereby having standing to object.

       14.     The CBCA provides three main regulatory limits on transactions that can proceed

as an arrangement:

               (i) it must not be practicable for the corporation to effect the proposed
                   transaction under any other provision of the CBCA;

               (ii) the applicant corporation must not be insolvent (subject to the case law
                    exceptions stated below); and




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               (iii) the arrangement provisions of the CBCA may only be used in circumstances
                     where the corporation proposes to effect a “fundamental change” in the
                     nature of an arrangement.

CBCA, at section 192(3).

       15.     It is further submitted that the provisions of the Preliminary CBCA Order attached

hereto as Exhibit A, are appropriate and advisable, and provide for procedural fairness with

respect to the manner in which the subsequent events will proceed. The provisions ensure that

the lenders and shareholders are properly notified of any subsequent motions brought in the

Canadian Proceeding and have an opportunity to speak and be heard at those motions.

       16.     In addition, an ad hoc committee of Unsecured Noteholders has the advice and

support of independent counsel and financial advisors. Further, the Debtors’ Board of Directors

have commissioned a fairness opinion from and independent third party, who has assessed the

transaction and deemed it fair to the affected parties as compared to alternatives such as an

insolvency proceeding or a liquidation, which the Board of Directors will provide to the

Unsecured Noteholders for their reference.

       17.     Based on the foregoing, I believe that the relief requested in the Debtors’ Chapter

15 cases is well-justified, necessary to a successful reorganization of the Debtors, and in the best

interests of the Debtors and their creditors and should be granted in full.




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                                           Conclusion

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct to the best of my knowledge, information, and belief.

Executed on this 16th day of July, 2014


Toronto, Ontario


/s/ John Ciardullo

John Ciardullo
Stikeman Elliott LLP
5300 Commerce Court West
199 Bay Street
Toronto, ON M5L 1B9




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                      Exhibit A

               Preliminary CBCA Order




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                                         ONTARIO
                                 SUPERIOR COURT OF JUSTICE
                                     COMMERCIAL LIST

THE HONOURABLE REGIONAL                                             WEDNESDAY, THE 16TH

SENIOR JUSTICE MORAWETZ                                                  DAY OF JULY, 2014


      IN THE MATTER OF AN APPLICATION UNDER SECTION 192 OF THE CANADA
           BUSINESS CORPORATIONS ACT, R.S.C. 1985, c. C-44, AS AMENDED

      AND IN THE MATTER OF RULES 14.05(2) AND 14.05(3) OF THE RULES OF CIVIL
                                 PROCEDURE

AND IN THE MATTER OF A PROPOSED ARRANGEMENT OF ESSAR STEEL CANADA
 INC., ESSAR STEEL ALGOMA INC., ALGOMA HOLDINGS B.V., CANNELTON IRON
              ORE COMPANY AND ESSAR STEEL ALGOMA INC. USA

                                                                                 Applicants



                                    PRELIMINARY ORDER



              THIS MOTION made by Essar Steel Canada Inc. ("Essar Canada"), Essar Steel

Algoma Inc. ("Algoma"), Algoma Holdings B.V. ("Holdings"), Cannelton Iron Ore Company

("Cannelton") and Essar Steel Algoma Inc. USA ("Essar USA" and, together with Essar

Canada, Algoma, Holdings and Cannelton, the "Applicants"), for an interim order in

connection with an arrangement pursuant to section 192 of the Canada Business Corporations

Act, R.S.C. 1985, c. C-44, as amended (the "CBCA"), including a stay of proceedings, was

heard this day at 330 University Avenue, Toronto, Ontario.




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                                                  -2-


              ON READING the Notice of Application issued on July 16, 2014, the Notice of Motion,

and the affidavit of Rajat Marwah sworn July 16, 2014 and the exhibits attached thereto,

including a proposed transactional term sheet (the "Term Sheet");


              ON HEARING submissions of counsel for the Applicants, counsel to the ad hoc

committee of Unsecured Noteholders (as defined below), counsel to Deutsche Bank (as

defined below), counsel to an ad hoc committee of Secured Noteholders (as defined below),

and on being advised that the Director appointed under the CBCA (the "CBCA Director") has

determined that it does not have standing to review or take a position on the within

Application as there is no arrangement to be reviewed at this time;


              ON HEARING that the Applicants intend to put forth a plan of arrangement under

section 192(4) of the CBCA (the "Arrangement") to this Honourable Court on or before

August 15, 2014 and that, during the interim period, if any proceedings are taken to enforce

security or otherwise interfere with the Applicants' ordinary business operations, the

Applicants' ability to present and effect the Arrangement may be jeopardized:


COMEBACK MOTION

1.            THIS COURT ORDERS that the Applicants are authorized to apply to this

Honourable Court on or before August 15, 2014 for an interim order permitting the Applicants

to call, hold and conduct a special meeting (the "Noteholder Meeting") of the holders of the

97/ 8 % senior unsecured notes (the "Unsecured Notes" and the holders, the "Unsecured

Noteholders") issued by Algoma pursuant to an indenture dated June 20, 2007, as

supplemented to consider the Arrangement and related relief.




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 STAY OF PROCEEDINGS

2.            THIS COURT ORDERS that from and including the date of this Preliminary Order

until and including August 15, 2014 (the "Stay Period"), no person, including without

limitation: (a) the lenders under the credit agreement (the "ABL Credit Agreement" and the

credit facility created thereunder, the "ABL Facility") among Algoma, Holdings, Deutsche

Bank Trust Company Americas, as administrative agent and as collateral agent ("Deutsche

Bank"), and the lenders party thereto from time to time (the "ABL Lenders"); (b) the lenders

under the credit agreement (the "Avenue Credit Agreement") dated as of December 6, 2013,

as amended, among Algoma, Holdings, Avenue Capital Management II, L.P., as

documentation agent ("Avenue"), and the lenders party thereto from time to time; (c) the

holders of the 9.375% senior secured notes (the "Secured Noteholders") issued by Algoma

pursuant to an indenture dated as of December 14, 2009, as supplemented (the                    "Secured

Notes Indenture"); (d) the Unsecured Noteholders; (e) Avenue Special Opportunities Fund I,

L.P., ("the "Subordinated Secured Lender") as assignee of the loan agreement dated as of

May 6, 2013, as amended, between Algoma and Essar Steel Limited; or (f) any administrative

agent, collateral agent, indenture trustee or similar person, shall have any right to terminate,

accelerate, amend or declare in default or take any other enforceme steps under any contract

or other agreement to which any of the Applicants is a party,,vrhe                              rrmer-nr
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              (a)    any of the Applicants having made an application to this Honourable Court

                     pursuant to section 192 of the CBCA;


              (b)    any of the Applicants being a party to this proceeding or being a party to the

                     Arrangement;




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              (c)   any default or cross-default resulting from the failure to make the interest

                    payment under the Unsecured Notes due on June 15, 2014 and the expiry of the

                    related grace period;


              (d)   any default or cross-default resulting from the issuance by Algoma of financial

                    statements containing a going-concern statement; or


              (e)   any of the Applicants taking any step contemplated by or related to the

                    Arrangement,


without further order of this Honourable Court.


3.            THIS COURT ORDERS that, subject to further order of this Court, during these

proceedings, the Applicants shall:


              (a)   Pay the actual, reasonable and documented fees and expenses of (i) White &

                    Case LLP and Osier, Hoskin & Harcourt LLP, each in connection with serving

                    as legal counsel to Deutsche Bank, and (ii) Pillsbury Winthrop Shaw Pittman

                    LLP in connection with serving as legal counsel to Wilmington Trust Company,

                    as trustee for the Secured Notes Indenture (the "Secured Note Trustee"), in

                    each case of (i) and (ii) in connection with the within Application and any

                    proceedings taken under chapter 15 of title 11 of the United States Code, 11

                    U.S.C. §§ 101-1532;


              (b)   unless otherwise agreed, comply with the "Borrowing Base" (as such term is

                    defined in the ABL Credit Agreement);




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              (c)   deliver the Budget (as such term is defined in the Term Sheet) to Deutsche

                    Bank, the Secured Note Trustee and to any ABL lender who has executed a

                    non-disclosure agreement satisfactory to the Applicants and Lazard Freres &

                    Co. LLC, in accordance with the Restructuring Support Agreement if and when

                    executed; and


              (d)   pay any unpaid interest accrued and owing under the ABL Facility, the Secured

                    Notes Indenture, and the Avenue Credit Agreement as and when due under

                    the applicable credit documents; provided that such interest shall accrue and be

                    owed at the non-default rate set forth in such credit documents.


4.            THIS COURT ORDERS that, subject to further order of this Honourable Court, the

only persons entitled to notice of and to appear and be heard at subsequent motions within

these proceedings shall be:


              (a)   the Applicants and their counsel;


              (b)   counsel to each of the ad hoc committee of Unsecured Noteholders, Deutsche

                    Bank, Avenue, the Secured Note Trustee, the ad hoc committee of Secured

                    Noteholders, and the Subordinated Secured Lender;


              (c)   the CBCA Director;


              (d)   the directors of Essar Canada and Algoma; and


              (e)   any person who has filed a Notice of Appearance herein in accordance with the

                    Notice of Application, this Preliminary Order and the Rules of Civil Procedure.




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 5.           THIS COURT ORDERS that any Notice of Appearance served in these proceedings

 shall be served on the solicitors for the Applicants and the ad hoc committee of Unsecured

 Noteholders as soon as reasonably practicable at the following address, respectively:

                     Stikeman Elliott LLP
                     Barristers & Solicitors
                     5300 Commerce Court West
                     199 Bay Street
                     Toronto, Canada M5L 1B9

                     Attention: Ashley Taylor and John Ciardullo

                     Goodmans LLP
                    Bay Adelaide Centre
                    333 Bay Street, Suite 3400
                    Toronto, ON M5H 2S7

                    Attention: Robert Chadwick and Joe Latham

6.            THIS COURT ORDERS that any materials to be served and filed by the Applicants in

support of any subsequent motion in these proceedings may be served and filed three

business days prior to the motion.


FOREIGN PROCEEDINGS

7.            THIS COURT ORDERS that Algoma is hereby authorized and empowered, but not

required, to act as the foreign representative (the "Foreign Representative") in respect of the

within proceedings for the purpose of having these proceedings recognized in a jurisdiction

outside of Canada.


8.            THIS COURT ORDERS that the Foreign Representative is hereby authorized to apply

for foreign recog           n of these proceedings, as necessary, in any jurisdiction outside of

Canada, including                                       in the United States pursuant to chapter 15

of title 11 of the United States Code, 11 U.S.C. §§ 101-1532.




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E-SERVICE PROTOCOL


9.            THIS COURT ORDERS that the E-Service Protocol of the Commercial List (the

"Protocol") is approved and adopted by reference herein and, in this proceeding, the service

of documents made in accordance with the Protocol (which can be found on the Commercial

List website at http:/ / www.ontariocourts.ca/ scj/ practice/ practice-directions/ toronto/ e-

service-protocol/ ) shall be valid and effective service. Subject to Rule 17.05 this Order shall

constitute an order for substituted service pursuant to Rule 16.04 of the Rules of Civil

Procedure. Subject to Rule 3.01(d) of the Rules of Civil Procedure and paragraph 21 of the

Protocol, service of documents in accordance with the Protocol will be effective on

transmission. This Court further orders that a Case Website shall be established in accordance

with the Protocol with the following URL '<www.donlinrecano.com/essarsteelcanada >'.


10.           THIS COURT ORDERS that if the service or distribution of documents in accordance

with the Protocol is not practicable, the Applicants are at liberty to serve or distribute this

Order, any other materials and orders in these proceedings, any notices or other

correspondence, by forwarding true copies thereof by prepaid ordinary mail, courier, personal

delivery or facsimile transmission to the Applicants' creditors or other '        ted parties at

their respective addresses as last shown on the records of the Applican nd that any such

service or distribution by courier, personal delivery or facsimile transmission shall be deemed

to be received on the next business day following the date of forwarding thereof, or if sent by

ordinary mail, on the third business day after mailing.


AID AND RECOGNITION




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11.           THIS COURT seeks and requests the aid and recognition of any court or any judicial,

regulatory or administrative body in any province of Canada and any judicial, regulatory or

administrative tribunal or other court constituted pursuant to the Parliament of Canada or the

legislature of any province and any court or any judicial, regulatory or administrative body of

the United States or other country to act in aid of and to assist this Honourable Court in

carrying out the terms of this Preliminary Order.




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IN THE MATTER OF AN APPLICATION UNDER 192 OF THE CANADA BUSINESS                                    Court File No. I   C,V ( 0(01-1
CORPORATIONS ACT, R.S.C. 1985, c. C44, AS AMENDED

AND IN THE MATTER OF RULES 14.05(2) and 14.05(3) OF THE RULES OF CIVIL PROCEDURE

AND IN THE MATTER OF A PROPOSED ARRANGEMENT OF ESSAR STEEL CANADA INC.,
ESSAR STEEL ALGOMA INC., ALGOMA HOLDINGS B.V., CANNELTON IRON ORE
COMPANY AND ESSAR STEEL ALGOMA INC. USA
                                                                                                                    ONTARIO
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              fl                                                                                           Proceeding Commenced at Toronto
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                                                                ILL                                        APPLICATION RECORD OF THE
                                                                                                                  APPLICANTS

                                                                                                        STIKEMAN ELLIOTT LLP
                                                                                                        Barristers & Solicitors
                                                        4,4 i400                                        5300 Commerce Court West
                                                                                                        199 Bay Street
                                                                                                        Toronto, Canada M5L 1B9
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                                                                                                        E-mail: ataylor@stikeman.com

                                                                                                        Kathryn Esaw LSUC#: 58264F
                                                                                d„,„6,7,                Tel: (416) 869-5230
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                                                                                                        Fax: (416) 947-0866
                                                                                     4-c'd
                       /6/   I°•                                                                        Lawyers for the Applicants

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                                                          Court File No.: 14-CV-10629-00CL
                                     ONTARIO
                             SUPERIOR COURT OF JUSTICE
                                 (COMMERCIAL LIST)


   IN THE MATTER OF AN APPLICATION UNDER SECTION 192 OF THE CANADA
        BUSINESS CORPORATIONS ACT, R.S.C. 1985, c. C-44, AS AMENDED

   AND IN THE MATTER OF RULES 14.05(2) AND 14.05(3) OF THE RULES OF CIVIL
                             PROCEDURE

      AND IN THE MATTER OF A PROPOSED ARRANGEMENT OF ESSAR STEEL
       CANADA INC., ESSAR STEEL ALGOMA INC., ALGOMA HOLDINGS B.V.,
     CANNELTON IRON ORE COMPANY AND ESSAR STEEL ALGOMA INC. USA




                                    ENDORSEMENT

                                                                               July 16, 2014

A. J. Taylor, K. Esaw for Applicants
H. Meredith for Essar Global
M. De Lellis for Deutsche Bank Trust
L. J. Latham and R.J. Chadwick for Ad Hoc Committee of Unsecured
K. Zych and S. Zweig for Secured Noteholders



        The Applicants move for a Preliminary Order. Motion is treated as being “ex parte”.
Motion granted and Preliminary Order signed in form presented, as amended. Reasons will
follow.



“Morawetz RSJ”




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